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                           EXHIBIT 2
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                                                     Page 50                                                    Page 52
         I               J. CUTILLO                       1              J. CUTILLO
         2      A. Can I defer that to the -- I would     2 replacement of cash stolen by her with diverted
         3 like to defer that question to the expert.     3 stolen checks from American Express. And the
         4      Q. So the corporation, as it sits here    4 replaced the amount represented by those stolen
         5 today, is unable to give an answer to that     5 checks with the bonus money or credit from
         6 question?                                      6 NMAC --
         7      A. I can you give an answer on my         7      A. Correct.
         8 personal --                                    8      Q. ~- is that accurate?
         9      Q. No, I want your answer on behalf of    9      So am I correct that the company is
        10 the corporation, if you're able to.           10 contending that the actual theft is a theft of
        11            MR. LABUDA: Do you want the        1 l cash?
        12          corporation's opinion as to how they 12      A. Correct.
        13          determined?                          13      Q. And that Ms. Jones allegedly made
        14            MS. FITZGERALD: The corporation    14  various accounting entries and whatnot to cover
        15          is a plaintiff making a claim        15 up from that theft of cash?
        16          against my client for this scheme.   16      A. Correct.
        17          So, I want to know on what basis the 17      Q. Who discovered this scheme?
        18          corporation is contending that my    18      A. I discovered the scheme.
        19          client, Voynow, is liable for the    19      Q. When?
        20          $68,000 associated with the scheme.  20      A. The information that led me to the
        21            MR. LABUDA: Objection to form.     21 discovery of the scheme was initially presented
        22            But you can answer the question.   22 in May or June of 2017. Research was then
        23            THE WITNESS: On behalf of the      23 further taken, thereafter.
        24          corporation?                         24      Q. If you could pull up the Amended
        25            MS. FITZGERALD: Yes.               25 Complaint against Ms. Jones, which is Exhibit 3
                                                     Page 5 I                                                   Page 53
         1                J. CUTILLO                             1              J. CUTILLO
          2            MR. LABUDA: Yes.                          2 And drawing your attention to paragraph 42 of
          3      A. There were two Staples vendors in            3 that complaint.
          4 the system, which you can identify on the            4      A. Page 5?
          5 checks. And having duplicate vendor numbers is       5      Q. Correct.
          6 a red flag for accountants to determine that         6      A. Okay.
          7 there is a possible scheme going on.                 7      Q. According to the company's Amended
          8      Q. Anything else?                               8 Complaint against Ms. Jones, it says: During
          9      A. No.                                          9 the investigation of the schemes, plaintiffs
        10       Q. Okay. Moving on. The next scheme            10 recently discovered another scheme in May of
        II listed in the chart, as Exhibit 2, is what's         11 2020.
        12 called the AmEx scheme. And according to the         12      A. Correct.
        13 corporation, this scheme occurred from               13      Q. So did the corporation uncover this
        14 October 16, 2010 through September 25th, 2014;       14 AmEx scheme in May of 2020?
        15 is that correct?                                     15      A. Complete -- officially completed,
        16       A. Correct.                                    16 yes.
        17       Q. And the company is claiming an              17      Q. And you said that you had
        18 amount of theN of 365,034.04, correct?               18 information in 2017?
        19       A. Correct.                                    19      A. We had received NMAC bonus funds
        20       Q. And the company is contending that          20 when I took over as a controller, that I did not
        21 Ms. Jones stole bonus money paid by NMAC to Star     21 know what they were in 2017; presented it to the
        22 Nissan, that was issued via a quarterly credit       22 owner, Michael Koufakis. We then informed
        23 on its monthly parts statement invoice, by           23 Rosenfield to do some research regarding this
        24 creating fraudulent journal entries in Star          24 moneys that we were getting, that we didn't know
        25 Nissan's dealer management system, to allow          25 what they were for.

                                                                                                 14 (Pages 50 - 53)

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                                                       JACQUELINE CUTILLO
                                                                 Page 38                                                       Page 40
         I         MS. FITZGERALD: And I'm going to show you                 l    Q. Does the company contend that Rosenfield should
         2     what we've previously marked as Toyota-5.                    2 have been able to detect that additional $68,000?
         3 BY ms. FITZGERALD:                                               3          MR. LABUDA: Objection, but you can
         4     Q. Okay. Why don't you make your clarification and           4      answer.
         5 then --                                                          5          THE WITNESS: I believe their work is
         6    A. Just so you're aware, I don't know exactly which           6       incomplete, and that's why they were no longer
          7 dollar amount pertains to which because I have to see all       7       doing work for our companies.
          8 the documentation. But when Debbie was doing her self           8 BY Ms. FITZGERALD:
          9 loans, I guess you would call them, extracting dollars          9     Q. Okay. Bu! you had indicated that you had
        10 from the deposits, she wasn't only utilizing the employee       10 investigated this scheme by, I think, May of 2017, April
        II advance account; she was utilizing the service and parts        l l o f 2 0 l7 .
        12 receivables account in Star Chrysler for her own customer       12       A. Correct.
        13 number.                                                         13       Q. And did you provide what you had discovered to
        14            So she was using two accounts back and               14 any of the Rosenfield accountants between then and
        15 forth and so on and so forth. So I would have to see the        15 between the time they issued their report to Detective
        16 documentation to be able to specify which went to where.        16 Razzo in November of20l8?
        17 I just want you to know it's not everything is hitting          17          MR. LABUDA: Objection, but you can
        18 employee advances.                                              18     answer.
        19    Q. Okay. So you're refening to Toyota-5, and if              19          THE WITNESS: I wasn't involved in the
        20 you look at the last page, second to the last page of the       20       report to Detective Razzo in 2018. I provided
        21 exhibit.                                                        21       Rosen field with the information that $7,500 was
        22    A. Okay.                                                     22      manipulated in the Reynolds system.
        23    Q. There's a section at the bottom that talks about          23 BY MS. FITZGERALD:
                                                                                                                                            ./`
        24 employee advances.                                              24    0. Did you provide the information that you found
        25         Do you see that?                                        25 about the $68,000 roughly to Michael Koufakis?

                                                                 Page 39                                                         Page 4 l
         l     A. Yes.                                                      l     A. The remainder amer the $7,500 that I discovered
         2     Q. So as part of its forensic analysis, Rosenficld           2 after Rosenfield was no longer part of the investigation
         3 was looking at the issue of employee advances on behalf          3 and I did my own individual investigation in the end of
         4 of the company, is that correct?                                 4 2020, beginning ofl202l, that is when the rest of this
         5     A. I see that.                                               5 was discovered.
         6     Q. And then if you look at the last page, there's a          6     Q. Okay. Why did you do an investigation in April -r
         7 reference to Debbie, and it says, "an employee advance of        7 of2017, and then not go back and look back further until
         8 $30,000 was made to her in Chrysler store and there's no         8 late 2020, early 2021?
         9 record of payment," correct?                                     9          MR. LABUDA: Objection, but you can
        10     A. That's what it says.                                     10       answer.
        ll     Q. Okay. I'm sorry, go ahead.                               II          THE WITNESS: I didn't do a full-fledged
        12     A. That's what it says.                              12              investigation in April of20l 7. I brought to
        13     Q. Okay. So in the course of its forensic analysis   13              Michael's attention the $7,500 that was
        14 as ofNovember of 2018, Rosenfield's forensic accounting 14               manipulated. We gave it to Rosentield.
        15 had been going on now for about a year and a half right? 15              Rosenfield did their investigation. When
        16     A. That's correct.                                   16              Rosenfield was no longer part of the
        17     Q. And it did not detect the other $68,000 that the  17              investigation process Michael asked me to look
        18 company is alleging in the damage chart?                        18       further because Rosen field was no longer
        19         MR. LABUDA: Objection. You can answer.                  19       involved, and I did my own investigation
        20         THE WITNESS: And it also stated, "it not                20       thoroughly.
        21       only affected employee advances. Her                      21 BY MS. FITZGERALD:
        22       manipulation of the records, retrieving the cash          22      Q. All right. You can put that one aside.
        23       also affect services and parts receivables in the         23            Has the company amended its Complaint
        24     Star Chrysler store."                                       24 against Debbie to reflect the additional investigation
        25 BY MS. FITZGERALD :                                             25 that you did in 2020 or 2021 to come up with the roughly

                                                                                                                  11 (Pages 38 - 41)
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                                                      JACQUELINE CUTILLO
                                                                  Page 62                                                                 Page 64
         I       can defer to the expert.                                    I theft ofS20,000 on or about February 2016, that
         2 BY M S. FIT ZGERALD:                                              2 purportedly involved a Toyota Avalon sold to Vitaliano
         3     Q. So you said that there would be a reference on a           3 with a $20,000 deposit that was never actually paid for
         4 customer deposit schedule, and then there would be a              4 or accounted for and that Vivian purportedly created the
         5 journal entry, correct?                                           5 fraudulent journal entry to offset the missing money.
         6     A. There's a journal entry giving credit to                   6               Is that accurate?
         7 herself; a journal entry by herself; and a check issued           7         A. That is accurate.
         8 to herself by herself                                             8         Q. Okay. Who is Mr. Vitaliano?
         9     Q. Well, the check's signed by the owner.                     9         A. Ms. Vitaliaho.
        10     A. But issued to herself, and she's the one that             10         Q. Ms. Vitaliano.
        l 1 generates the check, and she's the one that generated her       II               Who is that?
        12 credit through a journal entry on her own customer               12         A. I'm under the impression it's an associate of
        13 number.                                                          13 Vivian, under the impression it is an acquaintance of
        14    Q. And it was signed by the owner.                            14 Vivian.
        15     A. Correct.                                                  15         Q. What is her first name?
        16     Q. What is the account that was credited in the              16         A. I want to say Roseann. That's what comes to
        17 journal entry?                                                   17 mind.
        18     A. Customer deposits.                                        18         Q. And is the spelling other last name accurately
        19     Q. Do you know what that number is?                          19 reflected on this chart?
        20     A. It's 3020 or 3040. I don't know off the top of            20         A. I believe so.
        21 my head. It's one of the two.                                    21         Q. Does the company have the -- well, let me back
        22     Q. Was this check or this alleged theft part of the          2 2 up .
        23 company's civil lawsuit against Vivian"                          23               Who discovered this scheme?
        24      A. l'm not an attorney. I don't know what's on the          24         A. I did.
        25 civil lawsuit, If you could present mc with                      25         Q. And when did you discover it?

                                                                  Page 63                                                                 Page 65
         1 documentation I could attest to it.                               l         A. 2021, 2020, around there.
         2     Q. I'll show you the Complaint, but I'm just                  2     Q. So after Rosen field was no longer engaged?
         3 wondering if you know on behalf of the corporation                3         A. Absolutely.
         4 whether it is pursuing --                                         4         Q. And how did you discover it?
         5           M R. LABUDA: 19.                                        5         A. Looking through the books and records I came
         6           MS. FITZGERALD: -- 19 -- this damage                    6 across an entry created by Vivian in regards to this
         7       claim against the person who actually stole the             7 customer's deal, and the cash was never deposited,
         8       money.                                                      8 therefore, the money was stolen.
         9           MR. LABUDA: Objection, but you can                      9     Q. So you said you came across an entry.
        10      answer.                                                     10               Is that ajoumal entry?
        I l BY ms. FITZGERALD:                                              ll     A. Correct.
        12     Q. And I'm showing you Exhibit Nissan-19, which is           12     Q. And what was the components of the journal
        13 the company's Complaint against Vivian.                          13 entry?
        14           MR. LABUDA: You can answer the question.               14              MR. LABUDA: Do you understand the
        15           THE WITNESS: Not that it appears.                      15          question?
        16 BY MS. FITZGERALD:                                               16              THE WITNESS: I understand the question.
        17     Q. Did the company make a claim under its fidelity           17               From what I remember, it was a credit
        18 or employee theft policy with regards to this $9,000             18          given to the customer, and it was expensed to a
        19 allegedly stolen by Vivian in 2015?                              19          random account that had no relation to customer
        20     A. Not that I'm aware old                                    20          deposits.
        21     Q. All right. Drawing your attention to the                  21 BY M s. FIT ZGERALD:
        22 damages part again. Let's move onto the scheme involving 22             Q. What was the account?
        23 Vitaliano, Vivian's stolen Avalon scheme.                23             A. I want to -- off the top of my head I believe it
        24     A. Yes.                                                      24 was 3225, but I'm not sure of that. If you could show me
        25     Q. According to the company, there was an alleged            25 the document it would help me rehash my memory if

                                                                                                                      17 (Pages 62 - 65)
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                                                     JACQUELINE CUTILLO
                                                               Page 74                                                            Page 76
         1     deposit schedule that they would review.                   1 Ms. Vitaliano, correct?
         2 BY Ms. FITZGERALD:                                             2    A. Correct, which is why we no longer had him.
         3    Q. So how would it be apparent from a customer              3 That's why he's no longer the investigator. We had to do
         4 deposit schedule that would just list a customer and the 4 further investigation after his work.
         5 customer number and the amount, $20,000? What would b » 5       Q. Okay. And for purposes of investigating this
         6 apparent based on review of that schedule that this            6 particular deal, that was just you who did it?
         7 $20,000 was never deposited?                                   7     A. That is correct.
         8    A. Because the recap page would reflect the journal         8     Q. Okay. And is the failure by Rosenfield
          9 entry for $20,000.                                            9 allegedly to find this theft by Vitaliano part of the
        10      Q, Okay. So based upon your understanding, the           10 company's malpractice claim against Rosenfield?
        l l corporation's claim is based upon what may or may not        II            MR. LABUDA: Objection to scope, but you
        12 have been in a recap page associated with this schedule?      12       can answer.
        13          MR. LABUDA: Objection. You can answer.               13            THE WITNESS: Not that I'm aware of
        14          THE WITNESS: Correct. That's my opinion.             14 BY ms. FITZGERALD:
        15       You could defer to the expert and his opinion.          15     Q. And why do you say that?
        16                                                               16     A. Because I'm not aware of the scope of the claim.
        17            (Exhibit Toyota-5 was marked                       17     Q. So you don't know one way or the other?
        18       for identification.)                                    18     A. Right.
        19                                                               19     Q. All right. You can put that aside.
       20          MS. FITZGERALD: l'm showing you what's                20            I want to go back to the $9,147 that was
       2l       been marked as Toyota-5, and take a look at it           21 allegedly stolen by Vivian.
       22       and let me know when you're done.                        22     A. Okay.
       23             MR. LABUDA: I do note mine has highlight           23    Q. And I can show you the indictment again if you
       24       to it. l'm assuming yours does as well. They're          24 want to look at it.
       25       all like highlighted.                                    25    A. Yes, please.
                                                       Page 75                                                             Page 77
         I          MS. FITZGERALD: I might have given you                l    Q. Okay. So I'm showing you what's been previously
         2      the wrong one.                                            2 marked as Nissan-I6.
         3          THE WITNESS: This one does too.                       3      A. Thank you.
         4          MS. FITZGERALD: Oh, they all have                     4      Q. And I'm going to represent to you that I don't
         5      highlighting?                                             5 believe that that S9,l 14.70 check is part of the
        6          MR. LABUDA: Yeah, Jackie, does yours?                  6 indictment. Feel free to look through that and confirm.
        7       Yeah, yours does too. I'm assuming that that's            7     A. No. It was found after the fact possibly. It
        8       your highlight and not Rosenficld's highlight?            8 was probably found amer the fact.
        9          MS. FITZGERALD: It's mine or somebody in               9     Q. And I'm not sure if you told me when it was
       10       my office. It's not Rosenfield's.                        10 discovered.
        ll         MR. LABUDA: Okay.                                     II     A. I wasn't certain on the time frame, but it's
       12 BY MS. FITZGERALD:                                        12 after -- I believe it was after Roscnficld was no longer
       13      Q. Okay. So I'm showing you Toyota-5, and this is    13 a part of the investigation.
       14 a November 2 l st, 2018 report by Rosenfield sent to      14     Q. Okay. So sometime in 2021?
       15 Detective Razzo, And I'm drawing your attention to page 7 15     A. Give or take.
       16 of the report, the last page.                             16     Q. All right. Looking at the chart, let's move
       17             So as of the time this report was issued      17 onto the Ange Raptis Highlander scheme.
       18 Rosenfield had been engaged by the company for about a 18        A. Okay.
       19 year and a half?                                          19     Q. Who was Ange Raptis?
       20      A. April 17th to November of -- yeah.                20     A. That is Vivian Karouzakis' sister.
       21      Q. And according to its report it had analyzed what  21     Q. Was she an employee of any of the Star entities?
       22 it called suspect vehicle deals.                               22    A. I believe she was an employee of Star Chrysler's
       23            Do you see that?                                    23 payroll.
       24      A. Correct.                                               24    Q. Okay. And for what period of time, if you know?
       25      Q. Okay. And it does not list this deal involving         25    A. I don't know all that information off the top of

                                                                                                                20 (Pages 74 - 77)
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                                                     .TACQUELINE CUTILLO
                                                               Page 18                                                         Page 20
         1      Q. So as part of the investigation of this claim,         l actually go and search and find the unsigned copy of the
         2 did the company look to see what was filed away for the        2 check with no backup to it?
         3 backup associated with this check dated May 4th, 2013?         3     A. We searched and couldn't find either copy.
         4     A. There was no discovery of the backup for that           4     Q. Would there be a reason why the company would be
         5 check. I would presume that Vivian tossed it to not            5 paying Vivian these amounts, 22,000 or 26,000, outside of
         6 discover that she had committed fraud.                         6 the normal payroll process?
         7     Q. So the company has no backup, and the company,           7    A. The 22,000 was payable to her personal credit
         8 as you sit here today, doesn't have the check?                  8 card.
         9     A. That is correct.                                         9    Q. Okay. The 26,000. Thank you.
        10            MR. LABUDA: Just note, I think you asked           10           Would there be a reason that the company
        II      for production of both checks. The other check,          l 1 would be paying Vivian $26,000 outside of the normal
        12      the Capital One, you have. That's the one that I         12 payroll process?
        13      was mentioning before. It's Bates Stamped                13     A. Her description in the system is that that is a
        14      Capital One 588.                                         14 refund for a deposit.
        15         MS. FITZGERALD: Does it have a Star Bates             15    Q. Okay.
        16      number on it?                                            16     A. That could be a reason.
        17          MR. LABUDA: No. It's from Capital One.               17    Q. Okay. And if that was the case, should the
        18          MS. FITZGERALD: I don't have documents               18 check signer have been presented with the documentation
        19      from Capital One.                                        19 supporting the refund of the deposit?
        20          MR. LABUDA: You should have them.                    20    A. Yeah.
        21          MS. FITZGERALD: Did you reBates stamp                21    Q. On what basis does the company contend that
        22      those documents as a Star production?                    22 Voynow is liable for the $34,500?
        23         MR. LABUDA: No.                                       23      A. Plus the 22,000.
        24         MR. KOUFAKIS: No. I made them a Capital               24      Q. Plus the 22,000.
        25      One.                                                     25              MR. LABUDA: Objection, but you can

                                                          Page 19                                                                     Page 21
        1           ms. FITZGERALD: Oh, all right. I'll go                l       answer.
        2       back and look.                                            2             THE WITNESS: I'd like to defer that to
        3            MR. LABUDA: Okay. But just put that 588              3       the cxpcn, but I'll give you my opinion. They
        4       for your records.                                         4         looked at the customer deposit schedules every
        5           MS. FITZGERALD: Okay.                                 5       time that they came in. They reviewed our books
        6           MR. LABUDA: And we can send you a copy of             6       and records, and they reviewed bank
        7     this.                                                       7         reconciliations. So that would be my -- off the
        8 BY MS. FITZGERALD:                                              8         top of my head.
         9    Q. I take it from the company's perspective there's         9 BY MS. FITZGERALD:
       10 no assertion that the signatures on the check were             10     Q. What about either of any of these three checks
       I I forged?                                                       lI   would show up on a customer deposit schedule?
       12     A. That is correct.                                        12     A. The check was issued from her customer -- she
       13     Q. So they were signed by authorized check signers    13 issued the check to herself from her customer number on
       14 on behalf of the company?                                 14 customer deposits of Star Hyundai.
       15     A. That is correct.                                   15     Q. And I can show you the indictment if you want to
       16     Q. And when I asked you about the backup, you gave 16 see it again, but l'll represent to you that neither of
       17 me the answer that Vivian may have removed in, the backup 17 those checks are listed in the indictment.
       18 that was filed away.                                      18           Is the company aware of that?
       19    A. The backup to the check that she created to              19     A. They were discovered after the indictment.
       20 commit fraud.                                                  20     Q. Okay. And when were they discovered?
       21    Q. The backup to the check that supposedly would            21     A. The $22,000 check was discovered when we
       22 have gone with the copy of the unsigned check.                 22 obtained the subpoena from Capital One, and the $26,000
       23    A. That she would have presented to the owners.             23 check was discovered between 2020 and 2021 when she was
       24    Q. Okay. So is it speculation on your part that             24 dead.
       25 she would have thrown away backup, or did somebody             25     Q. l'm showing you Nissan-18.

                                                                                                                        6 (Pages 18 - 21)
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